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                                     List of Plaintiff-Appellants

      Obed Almeyda                                     David E. Melvin
      Robert Alvarez                                   Steven Morgan
      Lamont Anderson                                  Charisse Brittle Powell
      Shumean Benfold                                  Courtney A. Powell
      Rodney O. Best                                   Lynette4 Praileau
      Richard Brooks                                   Juan Rosario
      Gwendolyn Brown                                  Louis Rosario, Jr.
      James Brown                                      Molwyn Shaw
      Abel Cano                                        David Singletary
      George Cardoza                                   Kevin Sledge
      Eddy Chrispin                                    Tyrone Smith
      Cathenia D. Cooper-Patterson                     Spencer Tatum
      Lynn Davis                                       Julio M. Toledo
      Charles DeJesus                                  Julian Turner
      Larry Ellison                                    Karen Vandyke
      Delores E. Facey                                 Lisa Venus
      Kenneth Gaines                                   Devon Williams
      Murphy Gregory                                   Angela Williams-Mitchell
      Neva Grice                                       Robert C. Young
      William E. Iraolo
      James A. Jackson
      Gloria Kinkead
      Roylilne Lamb
      Pedro Lopez
      Jose Lozano
      MA Hispanic Law Enforcement Association
